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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                         CASE NO. 22-20707-MC-MARTINEZ-BECERRA

    In re: Application Pursuant to
    28 U.S.C.§ 1782 of

    FARHAD AZIMA,

                          Petitioner,

           v.

    INSIGHT ANALYSIS AND RESEARCH
    LLC AND SDC-GADOT LLC,

                           Respondents.


                          NOTICE OF DEPOSITION RULE 30(b)(6)
                        OF INSIGHT ANALYSIS AND RESEARCH LLC

          Please take notice that pursuant to Federal Rule of Civil Procedure 30(b)(6) and Judge

   Becerra’s Minute Order of June 6, 2022 (D.E. 20), counsel for Petitioner, Farhad Azima,

   (“Azima”) will take the deposition of Respondent, Insight Analysis and Research LLC

   (“Insight”) at Carlton Fields, P.A., 700 NW 1st Avenue, Suite 1200, Miami FL 33136, on June

   15, 2022, commencing at 10:00 AM. The deposition will be conducted remotely, using audio-

   visual conference technology. US Legal Support RemoteDepo Team will be providing an

   invitation link and instructions to the deposition. The deposition will continue until 2:00 PM

   and then from day to day between the hours of 10:00 AM and 5:00 PM until completed. The

   deposition will be used for purposes of Farhad Azima -v- (1) RAKIA (2) David Neil Gerrard

   (3) Dechert LLP and (4) James Edward Deniston Buchanan (Claim Number: HC-2016-

   002798), as described in the Application for Order to Take Discovery Pursuant to 28 U.S.C.

   Section 1782. ECF No. 1.



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          Pursuant to Rule 30(b)(6), Respondent Insight is directed to designate one or more

   persons to testify regarding the topics set forth in the attached Schedule A. In accordance with

   Rule 30(b)(6), counsel for Respondent shall contact undersigned counsel to confer in good faith

   about the matters for examination set forth in Schedule A. Respondent shall notify Petitioner’s

   counsel no less than two business days prior to the deposition of the identity of all designees and

   the matters on which each person will testify.

                                                 Respectfully submitted,


   Dated: June 8, 2022                           /s/ Michael S. Pasano
                                                 Michael S. Pasano (FBN 475947)
                                                 Email: MPasano@carltonfields.com
                                                 Vanessa Singh Johannes (FBN 1028744)
                                                 E-mail: VJohannes@carltonfields.com
                                                 CARLTON FIELDS P.A.
                                                 700 N.W. 1st Avenue, Suite 1200
                                                 Miami, Florida 33136-4118
                                                 Telephone: (305) 530-0050

                                                 /s/ Kirby D. Behre
                                                 Kirby D. Behre (admitted pro hac vice)
                                                 Timothy P. O’Toole (admitted pro hac vice)
                                                 Ian A. Herbert (admitted pro hac vice)
                                                 Calvin Lee (admitted pro hac vice)
                                                 MILLER & CHEVALIER CHARTERED
                                                 900 16th Street, NW
                                                 Washington, D.C. 20006
                                                 Telephone: (202) 626-5800
                                                 Fax: (202) 626-5801
                                                 Email: kbehre@milchev.com

                                                 Counsel for Petitioner




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                                   CERTIFICATE OF SERVICE

          I hereby certify that on June 7, 2022, I will cause a true and correct copy of the Rule

   30(b)(6) Notice of Deposition to be sent by email to Shimon Goldberger, registered agent for

   Insight Analysis and Research LLC, at shimon@srslmanagement.com, and to be sent via Federal

   Express overnight delivery to the following addresses:

   SDC-GADOT LLC
   3200 Collins Ave.
   Suite L2
   Miami Beach, Florida 33140




                                                        /s/ Michael S. Pasano
                                                         Michael S. Pasano




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                                               SCHEDULE A
                                                 TOPICS

          Pursuant to Rule 30(b)(6), Respondent, Insight Analysis and Research LLC (“Insight”

   or the “Company”) is directed to designate one or more persons who will testify on behalf of

   the Company and will be authorized to bind Insight with his or her deposition testimony about

   all matters known or reasonably available to Insight, including information, sources of

   information, communications, and documents, related to the following topics:

          1. The formation of Insight;

          2. The relationship of SDC-Gadot LLC to Insight Analysis and Research LLC;

          3. The relationship of Insight to Gadot Information Services;

          4. The identity and roles of all employees, officer, directors, managers, or other

                 individuals associated with Insight, including but not limited to Amit Forlit and Alon

                 Omri Gurlavie;

          5. The identities and roles of any accountants, lawyers, and registered agents used by

                 Insight, including but not limited to Ari Propis and Shimon Goldberger;

          6. The nature of the work performed by Insight, who that work was performed for, and

                 the individuals and companies used to perform that work;

          7. The nature and extent of the work performed for Stuart Page, Page Group, Page Risk

                 Management, or any other entities related to Stuart Page;

          8. The account information related to Insight, including details of the bank accounts

                 held by Insight, details regarding the transactions identified in Insight’s bank

                 statements, and details regarding the use of debit cards held by Insight;

          9. The nature and purpose of all transactions conducted by Insight, including but not

                 limited to transactions conducted with the following entities: Yesodot, Page Group



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                 ME DMCC; Gadot Information Services; Dinka Analysis Services; Mona Tours Ltd.;

                 Brian Tulloch; King of Drums, Inc.; Ezekiel Golan Intellectual; Yeret;

                 SP.Zoo.Olhagaray Ltd.; Page Risk Management DMCC; JJPI Power and Energy

                 DMCC; Amit Forlit; Hayarkon 48 Hoatels Ltd.; Ariel Trading Ltd.; BHB Media

                 LLC; ASAF Adani; Global Impact Services LLC; SAS Luxury N Sight; Tekara

                 Cyber Solutions; DOVRA Hashimshoni;

          10. The nature and extent of all business conducted in Florida by Insight, Amit Forlit, or

                 any other individuals associated with Insight, including but not limited to all

                 transactions with Florida companies, all transactions conducted in Florida, and all

                 property owned in Florida.

          11. All work related to Farhad Azima, including but not limited to work regarding the

                 investigation of Mr. Azima and others affiliated with Mr. Azima, the hacking of Mr.

                 Azima and others affiliated with Mr. Azima, and the obtaining of Mr. Azima’s

                 confidential data;

          12. The litigation between Mr. Azima and Ras Al Khaimah Investment Authority in both

                 the United States and the United Kingdom, including but not limited to all meetings

                 related to that litigation in which an individual associated with Insight participated;

          13. All interactions between anyone affiliated with Insight and anyone affiliated with Ras

                 Al Khaimah, Dechert LLP, Stewarts Law, Vital Management Services Inc., Grayson

                 + Co. Ltd., Karv Communications, CyberRoot, and Majdi Halabi; and

          14. The prior document and deposition subpoenas served in this proceeding and the

                 failure to comply with those subpoenas.




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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                         CASE NO. 22-20707-MC-MARTINEZ-BECERRA

    In re: Application Pursuant to
    28 U.S.C.§ 1782 of

    FARHAD AZIMA,

                          Petitioner,

           v.

    INSIGHT ANALYSIS AND RESEARCH
    LLC AND SDC-GADOT LLC,

                           Respondents.


                            NOTICE OF DEPOSITION RULE 30(b)(6)
                                   OF SDC-GADOT LLC

          Please take notice that pursuant to Federal Rule of Civil Procedure 30(b)(6) and Judge

   Becerra’s Minute Order of June 6, 2022 (D.E. 20), counsel for Petitioner, Farhad Azima,

   (“Azima”) will take the deposition of Respondent, SDC-Gadot LLC at Carlton Fields, P.A.,

   700 NW 1st Avenue, Suite 1200, Miami FL 33136, on June 15, 2022, commencing at 2:00

   PM. The deposition will be conducted remotely, using audio-visual conference technology.

   US Legal Support RemoteDepo Team will be providing an invitation link and instructions to the

   deposition. The deposition will continue from day to day between the hours of 10:00 AM and

   5:00 PM until completed. The deposition will be used for purposes of Farhad Azima -v- (1)

   RAKIA (2) David Neil Gerrard (3) Dechert LLP and (4) James Edward Deniston Buchanan

   (Claim Number: HC-2016-002798), as described in the Application for Order to Take

   Discovery Pursuant to 28 U.S.C. Section 1782. ECF No. 1.




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          Pursuant to Rule 30(b)(6), Respondent SDC-Gadot LLC is directed to designate one or

   more persons to testify regarding the topics set forth in the attached Schedule A. In accordance

   with Rule 30(b)(6), counsel for Respondent shall contact undersigned counsel to confer in good

   faith about the matters for examination set forth in Schedule A. Respondent shall notify

   Petitioner’s counsel no less than two business days prior to the deposition of the identity of all

   designees and the matters on which each person will testify.

                                                 Respectfully submitted,


   Dated: June 8, 2022                           /s/ Michael S. Pasano
                                                 Michael S. Pasano (FBN 475947)
                                                 Email: MPasano@carltonfields.com
                                                 Vanessa Singh Johannes (FBN 1028744)
                                                 E-mail: VJohannes@carltonfields.com
                                                 CARLTON FIELDS P.A.
                                                 700 N.W. 1st Avenue, Suite 1200
                                                 Miami, Florida 33136-4118
                                                 Telephone: (305) 530-0050

                                                 /s/ Kirby D. Behre
                                                 Kirby D. Behre (admitted pro hac vice)
                                                 Timothy P. O’Toole (admitted pro hac vice)
                                                 Ian A. Herbert (admitted pro hac vice)
                                                 Calvin Lee (admitted pro hac vice)
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                                                 Washington, D.C. 20006
                                                 Telephone: (202) 626-5800
                                                 Fax: (202) 626-5801
                                                 Email: kbehre@milchev.com

                                                 Counsel for Petitioner




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                                   CERTIFICATE OF SERVICE

          I hereby certify that on June 7, 2022, I will cause a true and correct copy of the Rule

   30(b)(6) Notice of Deposition to be sent by email to Shimon Goldberger, registered agent for SDC-

   Gadot LLC, at shimon@srslmanagement.com, and to be sent via Federal Express overnight

   delivery to the following addresses:

   SDC-GADOT LLC
   3200 Collins Ave.
   Suite L2
   Miami Beach, Florida 33140




                                                        /s/ Michael S. Pasano
                                                         Michael S. Pasano




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                                              SCHEDULE A
                                                TOPICS

          Pursuant to Rule 30(b)(6), Respondent SDC-Gadot LLC is directed to designate one or

   more persons who will testify on behalf of the Company and will be authorized to bind SDC-

   Gadot LLC with his or her deposition testimony about all matters known or reasonably

   available to SDC-Gadot LLC, including information, sources of information, communications,

   and documents, related to the following topics:

          1. The formation of SDC-Gadot LLC;

          2. The relationship of SDC-Gadot LLC to Insight Analysis and Research LLC;

          3. The relationship of SDC-Gadot LLC to Gadot Information Services;

          4. The identity and roles of all employees, officer, directors, managers, or other

                 individuals associated with SDC-Gadot LLC, including but not limited to Amit Forlit

                 and Alon Omri Gurlavie;

          5. The identities and roles of any accountants, lawyers, and registered agents used by

                 SDC-Gadot LLC, including but not limited to Ari Propis and Shimon Goldberger;

          6. The nature of the work performed by SDC-Gadot LLC, who that work was performed

                 for, and the individuals and companies used to perform that work;

          7. The nature and extent of the work performed for Stuart Page, Page Group, Page Risk

                 Management, or any other entities related to Stuart Page;

          8. The account information related to SDC-Gadot LLC, including details of the bank

                 accounts held by SDC-Gadot LLC, details regarding the transactions identified in

                 SDC-Gadot LLC’s bank statements, and details regarding the use of debit cards held

                 by SDC-Gadot LLC;




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           9. The nature and purpose of all transactions conducted by SDC-Gadot LLC, including

                  but not limited to transactions conducted with the following entities: Insight Analysis

                  & Research LLC; Page Group ME DMCC; Florida IP Telecom Inc.; Overseas

                  Consulting; optimizerx; Page Risk Management DMCC; Txt Tecno Servicios SA de

                  CV; Blenheim Investment Holding Vietna; Global Impact Services LLC; Fusion

                  GPS; Olam Hamachshevim; Aviram Hawk Consultant; Gadot Information Services;

                  Sharon Hashimshoni; BMI Analysis Limited; Liv Consulting Ltd.; David Shnaider;

                  Mona Tours Ltd.; Ezekiel Golan Intellectual Pro; Dinka Analysis Services; KMI

                  Ground Inc.; MMCO LLC t/a Don Rosen Imports; RMDY Health Inc.; PandaFace

                  Ltd.; Shira Betzalel; and TPV Inventa Trading S.R.O.

           10. The nature and extent of all business conducted in Florida by SDC-Gadot LLC, Amit

                  Forlit, or any other individuals associated with SDC-Gadot LLC, including but not

                  limited to all transactions with Florida companies, all transactions conducted in

                  Florida, and all property owned in Florida.

           11. All work related to Farhad Azima, including but not limited to work regarding the

                  investigation of Mr. Azima and others affiliated with Mr. Azima, the hacking of Mr.

                  Azima and others affiliated with Mr. Azima, and the obtaining of Mr. Azima’s

                  confidential data;

           12. The litigation between Mr. Azima and Ras Al Khaimah Investment Authority in both

                  the United States and the United Kingdom, including but not limited to all meetings

                  related to that litigation in which an individual associated with SDC-Gadot LLC

                  participated;




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           13. All interactions between anyone affiliated with SDC-Gadot LLC and anyone

                  affiliated with Ras Al Khaimah, Dechert LLP, Stewarts Law, Vital Management

                  Services Inc., Grayson + Co. Ltd., Karv Communications, CyberRoot, and Majdi

                  Halabi; and

           14. The prior document and deposition subpoenas served in this proceeding and the

                  failure to comply with those subpoenas.




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